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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA



  GANNETT SATELLITE INFORMATION
  NETWORK,

                      Plaintiff,                                    Case No. 22-cv-475-BAH


          v.


  U.S. DEPARTMENT OF JUSTICE,

                      Defendant.


                                       JOINT STATUS REPORT

        Pursuant to the Court’s Minute Order of April 13, 2023, the parties, having conferred,

jointly submit the following update on the status of this matter.

        Defendant is continuing to evaluate its options in light of the Court’s Order of March 29,

2023, ECF 20, including to seek reconsideration or to appeal. The parties are also continuing to

work together to determine the method for processing potentially responsive records, and to

determine whether they can reach agreement on any remaining potential redactions without

further litigation.

        Accordingly, the parties respectfully request that they be allowed to submit a further joint

status report on or before June 12, 2023.



Dated: May 12, 2023                                   Respectfully submitted,


                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General
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                                  Assistant Branch Director

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